Case 3:23-cv-00985-MMH-LLL Document 129 Filed 05/03/24 Page 1 of 7 PageID 3845




                 IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION


 CHIANNE D., et al.,

       Plaintiffs,
                                              Case No. 3:23-cv-00985-MMH-LLL
 v.

 JASON WEIDA, in his official capacity
 as Secretary for the Florida Agency for
 Health Care Administration, and
 SHEVAUN HARRIS, in her official
 capacity as Secretary for the Florida
 Department of Children and Families,

      Defendants.
 __________________________________/

            PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE
      AS TO GOVERNMENTAL ACTIONS, POLICIES, AND REPORTS

       Pursuant to Federal Rule of Evidence 201, Plaintiffs respectfully request that

 this Court take judicial notice of the governmental actions, policies, and reports,

 described below, and attached as exhibits hereto, which document Defendants’

 understanding of their Medicaid termination notices over the years as well as actions

 other states have taken in response to remedying insufficient Medicaid termination

 notices.
Case 3:23-cv-00985-MMH-LLL Document 129 Filed 05/03/24 Page 2 of 7 PageID 3846




    (1)      Medicaid Eligibility, Enrollment, and Renewal Processes and Systems

             Study, MACPAC, filed as Pl. Trial Ex. 238 (AHCA-002057) (SHADAC

             Report).

    (2)      Oregon Health Authority, Renewal data shows 5 out of 6 Oregonians

             keeping medical benefits (Nov. 22, 2023), filed as Pl. Trial Ex. 240.

    (3)      Oregon Supplemental Income Program Medical (OSIPM) Restorations

             (updated Nov. 21, 2023), filed as Pl. Trial Ex. 241.

    (4)      Arizona Department of Economic Security (DES), Important Information

             About Your Appeal Rights, filed as Pl. Trial Ex. 242.


                              MEMORANDUM OF LAW

          Federal Rule of Evidence 201 allows this Court to take judicial notice of

 adjudicative facts that cannot reasonably be disputed and are subject to ready proof.

 Specifically, “[t]he court may judicially notice a fact that is not subject to reasonable

 dispute because it . . . can be accurately and readily determined from sources whose

 accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b). The Court is

 required to take judicial notice upon Plaintiffs’ request where, as here, the Court “is

 supplied with the necessary information.” Fed. R. Evid. 201(c).

          Where the requirements of Fed. R. Evid. 201(b)(2) are met, a court may take

 judicial notice of various governmental actions, including matters of agency reports

 and public records. Cash Inn of Dade, Inc. v. Metropolitan Dade Cty., 938 F.2d


                                            2
Case 3:23-cv-00985-MMH-LLL Document 129 Filed 05/03/24 Page 3 of 7 PageID 3847




 1239, 1243 (11th Cir. 1991) (allowing judicial notice of unsworn community

 member statements contained in the minutes of a county commission meeting);

 Terrebonne v. Blackburn, 646 F.2d 997, 1000 n. 4 (5th Cir. 1981) (“Absent some

 reason for mistrust, courts have not hesitated to take judicial notice of agency records

 and reports”); Brooks v. United States, 273 F. Supp. 619, 624 (D.S.C. 1967) (judicial

 notice of adjudicative facts is proper when “taken from official governmental

 reports”). Facts and documents found on government websites are also proper

 subjects for judicial notice. See Markland v. Insys Therapeutics, Inc., 270 F.Supp.3d

 1318, 1321 n. 3 (M.D. Fla. 2017) (taking judicial notice of documents found on the

 U.S. Food and Drug Administration’s website); Chapman v. Abbott Laboratories,

 930 F.Supp.2d 1321, 1323 (M.D. Fla. 2013) (same).

       The exhibits Plaintiffs propose for judicial notice are relevant to this

 proceeding. Plaintiffs assert Defendants are terminating hundreds of thousands of

 Floridians from Medicaid coverage without providing adequate individualized

 written notice as the Constitution and Medicaid Act require. The adjudicative facts

 contained within the governmental reports and records referenced above are relevant

 to Plaintiffs’ claim. Specifically, the SHADAC report at Pl. Trial Ex. 238 establishes

 that Defendants have been aware of the insufficiency of Medicaid termination

 notices for years, including an acknowledgement that “notices that describe

 applicants as ineligible are considered to be not sufficiently explicit in terms of an


                                            3
Case 3:23-cv-00985-MMH-LLL Document 129 Filed 05/03/24 Page 4 of 7 PageID 3848




 explanation.” Id. at AHCA-2071-72. And, the records from Oregon and Arizona at

 Pl. Trial Ex. 240-42 reflect that other states have taken specific actions during the

 “unwinding,” including sending corrective notice and reinstating Medicaid

 coverage, to remedy their own insufficient Medicaid termination notices.

          In addition to being relevant, these governmental records and reports also “can

 be accurately and readily determined from sources whose accuracy cannot

 reasonably be questioned.” Fed. R. Evid. 201(b). Regarding the SHADAC report, it

 was produced on behalf of the Medicaid and CHIP Payment and ACCESS

 Commission (MACPAC), which is a “is a non-partisan legislative branch agency

 that provides policy and data analysis and makes recommendations to Congress, the

 Secretary of the U.S. Department of Health and Human Services, and the states on

 a wide array of issues affecting Medicaid and the State Children’s Health Insurance

 Program (CHIP).”1 Plaintiffs’ counsel initially obtained this document through a

 public records request and it was later disclosed by Secretary Weida of the Agency

 for Health Care Administration in response to Plaintiffs’ request for production

 served as part of this litigation. A copy of this document is available on MACPAC’s

 website.2


 1
     “About MACPAC,” https://www.macpac.gov/about-macpac/ (last visited May 3, 2024).

 2
     “Medicaid Eligibility, Enrollment, and Renewal Processes and Systems Study,” prepared for
      MACPAC by the State Health Access Data Assistant Center, Division of Health Policy &



                                                 4
Case 3:23-cv-00985-MMH-LLL Document 129 Filed 05/03/24 Page 5 of 7 PageID 3849




        The source of both Pls. Trial Ex. 240 & 241 is the Oregon Health Authority.

 Pls. Trial Ex. 240 is an email that was sent from an Oregon government email

 address. While Plaintiffs were unsuccessful in obtaining a live link to the original

 email, a replica email 3 can be found on GovDelivery, a web-based e-mail

 subscription management system that partners with government organizations to

 allow members of the public to subscribe to their news and information.

 GovDelivery can reasonably be trusted to contain verifiable government information

 evidenced by its use by federal agencies such as the Department of Homeland

 Security, Department of the Interior, and the Federal Trade Commission.4 Further,

 Pls. Trial Ex. 241 was issued on official Oregon state letterhead (which includes the

 state seal) and lists the state agency’s web address, all of which can be verified on a




 Management, University of Minnesota, School of Public Health (Oct. 19, 2018),
 https://www.macpac.gov/publication/eligibility-enrollment-and-renewal-florida-case-study
 findings/ (last visited May 3, 2024).

 3
  Oregon Health Authority, Renewal data shows 5 out of 6 Oregonians keeping medical benefits;
 Oregon in top three states protecting medical benefits,
 https://content.govdelivery.com/accounts/ORHA/bulletins/37c69a1 (last visited May 2, 2024).
 4
  Department of Homeland Security, GovDelivery Privacy and Notice,
 https://www.dhs.gov/govdelivery-privacy-policy-and-notice (last visited May 2, 2024); U.S.
 Department of the Interior, Privacy Impact Assessment,
 https://www.doi.gov/sites/doi.gov/files/govdelivery-pia-09.17.2021.pdf (last visited May 2,
 2024); Federal Trade Commission, https://www.ftc.gov/system/files/attachments/privacy-
 impact-assessments/govdelivery_pia_jan_2018.pdf (last visited May 2, 2024).



                                                5
Case 3:23-cv-00985-MMH-LLL Document 129 Filed 05/03/24 Page 6 of 7 PageID 3850




 governmental website where a copy of the document is readily available.5 Similarly,

 Pls. Trial Ex. 242 was issued on Arizona state letterhead (which also includes the

 state seal). Because the accuracy of these governmental sources cannot be

 reasonably questioned, judicial notice of the records obtained from these sources is

 proper. See Cash Inn of Dade, Inc., 938 F.2d at 1243.

                                    CONCLUSION
         Wherefore, based on the foregoing, Plaintiffs respectfully request that this

 Court take judicial notice of the above exhibits pursuant to Federal Rule of

 Evidence 201(b).


                    CERTIFICATE OF SATISFACTION OF
                  ATTORNEY-CONFERENCE REQUIREMENT

         Pursuant to Local Rule 3.01(g), counsel for Plaintiffs and counsel for

 Defendants conferred regarding the instant motion on May 2, 2024. Defendants

 indicated they do not consent to the relief requested herein.


 Dated: May 3, 2024

 Respectfully Submitted,


     Florida Health Justice Project               National Health Law Program

     /s/Katy DeBriere

 5
  Oregon Health Authority, Oregon Supplemental Income Program Medical (OSIPM)
 Restorations, https://www.oregon.gov/oha/PHE/Documents/OSIPM-Restorations.pdf (last
 visited May 2, 2024).

                                             6
Case 3:23-cv-00985-MMH-LLL Document 129 Filed 05/03/24 Page 7 of 7 PageID 3851




  Katy DeBriere (Fl. Bar No. 58506)        Sarah Grusin**
  3900 Richmond Street                     Miriam Heard**
  Jacksonville, FL 32205                   Amanda Avery**
  (352) 496-5419                           Jane Perkins**
  debriere@floridahealthjustice.org        1512 E. Franklin Street, Suite 110
                                           Chapel Hill, NC 27541
  Miriam Harmatz (Fl. Bar No.              (919) 968-6308
  562017)                                  grusin@healthlaw.org
  3793 Irvington Ave.                      heard@healthlaw.org
  Miami, FL 33133                          avery@healthlaw.org
  (786) 853-9385                           perkins@healthlaw.org
  harmatz@floridahealthjustice.org
                                           ** Admitted pro hac vice.
  Lynn Hearn (Fl. Bar No. 123633)
  3606 Dexter Dr.
  Tallahassee, FL 32312
  (754) 231-0106
  hearn@floridahealthjustice.org

  Jerron Wheeler (Fl. Bar No.
  1032240)
  2427 Tequesta Lane
  Miami, FL 33133
  904-566-3666
  wheeler@floridahealthjustice.org

  Ronnie Graham (Fl. Bar. No.
  1032153)
  2427 Tequesta Lane
  Miami, FL 33133
  850-273-1651
  graham@floridahealthjustice.org




                                      7
